         Case 1:15-cv-02739-LAP Document 513 Filed 10/26/23 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                     :
PETERSEN ENERGÍA INVERSORA,          :
S.A.U. and PETERSEN ENERGÍA, S.A.U., :
                                     :                 Case No.: 1:15-CV-02739 (LAP)
                  Plaintiffs,        :
                                     :
                                     :
                  v.                 :
                                     :
ARGENTINE REPUBLIC and YPF S.A., :
                                     :
                  Defendants.        :
------------------------------- x


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ETON PARK CAPITAL MANAGEMENT, :
L.P., ETON PARK MASTER FUND, LTD., :
and ETON PARK FUND, L.P.,          :                   Case No.: 1:16-CV-08569 (LAP)
                                   :
                                   :
                 Plaintiffs,       :
                                   :
                 v.                :
                                   :
ARGENTINE REPUBLIC and YPF S.A., :
                                   :
                 Defendants.       :
------------------------------- x


       NOTICE OF ARGENTINA’S MOTION FOR A STAY OF ENFORCEMENT
              OF JUDGMENT PENDING APPEAL WITHOUT BOND

       PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 62(b),

Defendant the Argentine Republic hereby moves, by and through its undersigned attorneys, for an

order entering a stay of execution or enforcement of the judgment, entered on September 15, 2023,

without requiring that the Republic post a supersedeas bond pending appeal. This Motion is based

on this Notice of Motion, the accompanying Memorandum of Law in Support of Argentina’s

Motion, and the Declaration of Robert J. Giuffra, Jr., and the supporting documents filed therewith.
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                                   Respectfully,

Dated: October 26, 2023            /s/Robert J. Giuffra, Jr.
                                   Robert J. Giuffra, Jr.
                                   Sergio J. Galvis
                                   Amanda F. Davidoff
                                   Thomas C. White
                                   Adam R. Brebner

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                                   Counsel for the Argentine Republic




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